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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


 PRESIDENT AND FELLOWS OF HARVARD
 COLLEGE,

        Plaintiff,
                                                            Case No. 1:25-cv-11472-ADB
                        v.
 DEPARTMENT OF HOMELAND SECURITY,
 et al.,
        Defendants.



                        ORDER GRANTING PLAINTIFF’S
                 MOTION FOR A TEMPORARY RESTRAINING ORDER

       For purposes of Federal Rule of Civil Procedure 65(b), the President and Fellows of

Harvard College (“Plaintiff”) has made a sufficient showing that it has provided notice to

Defendants Department of Homeland Security, Kristi Noem, Immigration and Customs

Enforcement, Todd Lyons, Department of Justice, Pamela Bondi, Student and Exchange Visitor

Program, Jim Hicks, Department of State, and Marco Rubio (collectively, “Defendants”) and that,

unless its Motion for a Temporary Restraining Order (“TRO”), [ECF No. 56 (the “Motion”)],

is granted, it will sustain immediate and irreparable injury before there is an opportunity to hear

from all parties. Thus, a TRO directed at the June 4, 2025 Presidential Proclamation titled,

“Enhancing National Security by Addressing Risks at Harvard University” (the “Presidential

Proclamation”), as well as the continuation of the earlier issued May 23, 2025 temporary

restraining order, [ECF. No. 11], is warranted to preserve the status quo pending a hearing, and the

Plaintiff’s Motion is GRANTED.


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       Accordingly, Defendants, their agents, and anyone acting in concert or participation with

Defendants are hereby enjoined from: Implementing, instituting, maintaining, enforcing, or giving

force or effect to the Presidential Proclamation. This TRO shall become effective immediately

upon entry by this Court. It shall remain in effect until further order of this Court.

       In addition, for good cause shown and pursuant to Fed. R. Civ. P. 65(b)(2), the Court will

extend its May 23, 2025 temporary restraining order, [ECF No. 11], against implementation of the

Department of Homeland Security’s May 22, 2025 revocation of Harvard’s authority to sponsor F

and J non-immigrant visa holders in a continued effort to maintain the status quo and ensure

fairness to all as this case proceeds. The May 23 temporary restraining order is therefore extended

until June 20, 2025, or such earlier time as a preliminary injunction order can be issued.

       It is so ordered.


June 5, 2025                                                  /s/ Allison D. Burroughs
                                                              ALLISON D. BURROUGHS
                                                              U.S. DISTRICT JUDGE




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